323 F.2d 364
    Joseph Jean Jacques LaROCHELLE, a/k/a Jack LaRochelle,Plaintiff-Appellant,v.Walter A. SAHLI, District Director of Immigration andNaturalization Service at Detroit, Michigan,Defendant-Appellee.
    No. 14813.
    United States Court of Appeals Sixth Circuit.
    Oct. 17, 1963.
    
      1
      Harry Kobel, Rosin &amp; Kobel, Detroit, Mich., for appellant.
    
    
      2
      Lawrence Gubow, U.S. Atty., William H. Merrill, Chief Asst. U.S. Atty., Detroit, Mich., for appellee.
    
    
      3
      Before MILLER and WEICK, Circuit Judges, and PECK, District Judge.
    
    ORDER.
    
      4
      Subsequent to the judgment of the District Court, the United States Supreme Court on June 17, 1963, decided the case of Rosenberg v. Fleuti, 374 U.S. 449, 83 S.Ct. 1804, 10 L.Ed.2d 1000, which ruling has a material bearing on the issue in this case.
    
    
      5
      Appellee has moved to vacate the judgment of the District Court and to remand the case with directions that the parties be given leave to amend their pleadings to put in issue the question of 'entry', in accordance with the principles laid down in Rosenberg v. Fleuti, supra, which motion the appellant does not oppose.
    
    
      6
      The motion is sustained and it is so ordered.
    
    